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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                        No. 20-mj-955 SCY

CHARLES JUSTICE,

                      Defendant.


                    NOTICE OF LIMITED ENTRY OF APPEARANCE

       Robert J. Gorence of Gorence & Oliveros, P.C., hereby enters his limited appearance in

the above-styled cause on behalf of Defendant Charles Justice only with respect to matters before

the United States Magistrate Judge for the District of New Mexico pertaining to Mr. Justice’s

detention and preliminary hearings.

                                                    Respectfully submitted,

                                                    /s/ Robert J. Gorence
                                                    Robert J. Gorence
                                                    Gorence & Oliveros, P.C.
                                                    300 Central Avenue SW, Suite 1000E
                                                    Albuquerque, NM 87102
                                                    Phone (505) 244-0214
                                                    Facsimile (505) 244-0888
                                                    Email: gorence@golaw.us

                                                    Limited Appearance on behalf of Defendant
                                                    Charles Justice
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 17th day of March, 2020, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

       Jon K. Stanford                             Jack Burkhead
       jon.stanford@usdoj.gov                      jack.e.burkhead@usdoj.gov
       Attorney for United States                  Attorney for United States


/s/ Robert J. Gorence
Robert J. Gorence




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